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   IN THE DISTRICT COURT OF THE UNITED STATES

                   for the Western District of New York
                                 ____________________

                                                     OCTOBER 2019 GRAND JURY
                                                     (Impaneled 10/18/2019)

 THE UNITED STATES OF AMERICA                        INDICTMENT

        -vs-                                         Violation:
                                                     Title 18, United States Code,
 COURTLAND RENFORD                                   Section 844(i)
                                                     (1 Count)




                                        COUNT 1

                   (Arson of a Building Used in Interstate Commerce)

                             The Grand Jury Charges That:



       On or about May 30, 2020, in the Western District of New York, the defendant,

COURTLAND RENFORD, did maliciously damage and destroy, and attempt to damage

and destroy, by means of fire, a building and real property used in interstate commerce and

in activity affecting interstate commerce, namely, Buffalo City Hall located at 65 Niagara

Square, Buffalo, New York.
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     All in violation of Title 18, United States Code, Section 844(i).



     DATED: Buffalo, New York, June 4, 2020.


                                        JAMES P. KENNEDY, JR.
                                        United States Attorney


                                 BY:    S/JEREMIAH E. LENIHAN
                                        Assistant United States Attorney
                                        United States Attorney’s Office
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A TRUE BILL:

S/FOREPERSON




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